
84 F.Supp. 640 (1949)
UNITED ELECTRICAL, RADIO &amp; MACHINE WORKERS OF AMERICA, CIO, et al.
v.
LILIENTHAL et al.
Civil Action No. 4427-48.
United States District Court District of Columbia.
May 24, 1949.
*641 David Scribner and Arthur Kinoy, New York City, Leon Novak, Schenectady, Allan R. Rosenberg, Washington, D. C., for plaintiffs.
H. G. Morison, Assistant to Attorney General, George Morris Fay, United States Attorney, of Washington, D. C., Edward H. Hickey, Special Assistant to Attorney General, Melvin Siegel, Special Assistant to Attorney General (Adrian S. Fisher, General Counsel, United States Atomic Energy Commission, and Bennett Boskey and William D. Denson, Attys., United States Atomic Energy Commission, Washington, D. C., of counsel), for defendant David E. Lilienthal, individually and as Chairman of the United States Atomic Energy Commission.
Cahill, Gordon, Zachry &amp; Reindel, New York City, Robert G. Zeller, Washington, D. C., for defendant General Electric Co.
LETTS, District Judge.
Each motion to dismiss must be sustained for the following reasons:
The action of AEC of which the plaintiffs complain was authorized by the Atomic Energy Act, 42 U.S.C.A. § 1801 et seq.; the court lacks jurisdiction over the subject matter of the action in that the complaint seeks to control executive action committed by law to the discretion of the Atomic Energy Commission, and this court will not interfere with the exercise of such discretion; the complaint contains no sufficient allegation that the action of AEC, complained of, was arbitrary, capricious or an abuse of discretion; no substantial constitutional question is presented; the Administrative Procedure Act, 5 U.S.C.A. § 1001 et seq., is not applicable to the case.
Counsel for defendants will submit appropriate orders dismissing the complaint.
